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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


    SERGIO FACUNDO, on behalf of himself and             )
    all others similarly situated and                    )
    JUAN MARTINEZ,                                       )
                                                         )
                                Plaintiffs,              )
                                                         )   Civil Action No.: 4:15-CV-808-ALM
    v.                                                   )   JURY DEMANDED
                                                         )
    GANT CONTRACTORS, INC. and                           )
    PAUL E. GANT,                                        )
                                                         )
                                Defendants.              )

                 AGREED AMENDED ORDER DISMISSING CASE WITH PREJUDICE

           Before the Court is the Agreed Motion To Dismiss With Prejudice of Plaintiffs,

    Sergio Facundo and Juan Martinez, the individuals that have filed a consent pursuant to 29

    U.S.C. Sec. 216 (b) to opt-in to become a plaintiff, Osbaldo Ocana, Mario Gonzales, Oscar

    Martinez and Leopoldo Licea, and Defendants, Gant Contractors, Inc. and Paul E. Gant,

    seeking dismissal with prejudice.    The Court is of the opinion that the motion should

    be granted. IT IS THEREFORE ORDERED that the Agreed Motion to Dismiss is

    GRANTED, this case is DISMISSED WITH PREJUDICE, and costs and fees, including

.   attorneys’ fees, will be borne by those incurring the same.     The Court HEREBY retains

    jurisdiction to enforce the terms of the settlement agreement of the parties to the settlement

    agreement.

          THIS IS A FINAL JUDGMENT.
           SIGNED this 13th day of May, 2016.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE
